                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF ALASKA

        UNITED STATES OF AMERICA,)
                                 )
                  Plaintiff,     )
                                 )
             vs.                 )
                                 )
        ARNOLD W. FLOWERS        )
                                 )
                                 )
             Defendant.          ) CASE NO:A02-022-CR (OMP)
                                 )
       __________________________)



              NOTICE OF CONCURRNCE RE TRANSCRIPT ORDER

        Hugh W. Fleischer, as attorney for defendant-

        appellant, Arnold W. Flowers, in the above captioned

        action, hereby gives notice that Arnold Wesley

        Flowers concurs with the Transcript Designation Form

        of the government.     Therefore Mr. Flowers will not

        file a Designation, Form AO 435 nor the CJA 24 Form.

                     DATED at Anchorage, Alaska, this 16th day

                   of April, 2006.

                         LAW OFFICES OF HUGH W. FLEISCHER



                               By:   S/ Hugh W. Fleischer
                                     Hugh W. Fleischer
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Case 3:02-cr-00022-OMP Document 264 Filed 04/16/06 Page 1 of 3
                                 CERTIFICATE OF SERVICE


                             I CERTIFY that a true and correct
                            copy of the foregoing was served as follows:

                            By e-mail delivery:



                       Nancy K. Oliver
                       United States Department of Justice
                       Criminal Division
                       950 Pennsylvania Ave., Ste. 6746
                       Washington, DC 20530
                       e-mail-nancy.oliver@usdoj.gov

              DATED at Anchorage, Alaska, this16th day of April, 2006.




                                          S/ Hugh W. Fleischer




                                                  2



Case 3:02-cr-00022-OMP Document 264 Filed 04/16/06 Page 2 of 3
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Case 3:02-cr-00022-OMP Document 264 Filed 04/16/06 Page 3 of 3
